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              IN THE UNITED STATES DISTRICT COURT FOR THE
            WESTERN DISTRICT OF LOUISIANA—MONROE DIVISION

  PHILLIP CALLAIS, LLOYD PRICE,                          )
  BRUCE ODELL, ELIZABETH ERSOFF,                         )
  ALBERT CAISSIE, DANIEL WEIR,                           )
  JOYCE LACOUR, CANDY CARROLL                            )
  PEAVY, TANYA WHITNEY, MIKE                             )
  JOHNSON, GROVER JOSEPH REES,                           )
  ROLFE MCCOLLISTER,                                     )
                                                         )
                  Plaintiffs,                            )
                                                         )
  v.                                                     )        Case No. 3:24-cv-00122
                                                         )
  NANCY LANDRY, IN HER OFFICIAL                          )
  CAPACITY AS LOUISIANA                                  )
  SECRETARY OF STATE,                                    )
                                                         )
                  Defendant.                             )


                 THE STATE OF LOUISIANA’S SCHEDULING BRIEF

          This morning, the Court held a Status Conference, at which it ordered the

  State of Louisiana to file a brief listing the plausible legislative procedures for

  enacting another congressional map. See ECF No. 216. Accordingly, the State submits

  this brief to explain that, if the Court permits the Legislature an opportunity to draw

  another map, 1 there are only two plausible avenues for the Legislature. First, the

  Legislature could amend a bill that already has been introduced in the current

  regular session—which started on March 11, 2024, and ends on June 3, 2024—as long




  1 Because the Court instructed the State not to make this brief “an advocacy piece,” the State excludes
  any legal argument. Nothing in this brief, however, should be read to constitute a waiver of the State’s
  position that the Legislature must be afforded a “reasonable opportunity” to draw a remedial map, see
  In re Landry, 83 F.4th 300, 303 (5th Cir. 2023) (quoting Wise v. Lipscomb, 437 U.S. 535, 540 (1978)),
  and the timelines provided herein do not constitute such an opportunity.

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  as the amendment is germane to that existing bill. Second, the Governor could call a

  special session in which new redistricting bills could be considered. That second

  option, however, is limited by the possibility of a special session to amend the

  Louisiana Constitution.

  I.     REGULAR SESSION

         The Legislature is currently in regular session, which is scheduled to end on

  June 3, 2024. See La. Const. art. III, § 2(A)(3)(a). The deadline for proposing new bills

  in the current session has passed, however. See id. (“No new matter intended to have

  the effect of law shall be introduced or received by either house after six o'clock in the

  evening of the twenty-third calendar day.”).

         Moreover,     the   Louisiana    Constitution    contains    Single-Object     and

  Germaneness Requirements that limit legislative enactments. See La. Const.

  art. III, § 15(A) (“Every bill, except the general appropriation bill and bills for the

  enactment, rearrangement, codification, or revision of a system of laws, shall be

  confined to one object.”) (Single-Object Requirement); id. § 15(C) (“No bill shall be

  amended in either house to make a change not germane to the bill as introduced.”)

  (Germaneness Requirement). Under these constitutional requirements, the

  Legislature could potentially amend an existing bill to address congressional

  redistricting, but the amendment’s object (congressional redistricting) must be

  germane to the subject matter of the existing bill that it seeks to amend. See

  id. §§ 15(A), (C).

         As Plaintiffs attested at this morning’s Status Conference, there are currently

  bills before the Legislature that it might conceivably attempt to amend to enact a new
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  congressional map. See, e.g., S. Bill 468, 2024 Reg Sess. (La. 2024) (relating to

  Louisiana State Senate redistricting). But attempting to use that bill for

  congressional redistricting would be subject to a germaneness challenge because it

  addresses state senate redistricting. See La. Fedn. of Teachers v. State, 118 So. 3d

  1033, 1063–72 (La. 2013) (“The ‘object’ of a bill has been variously defined as the aim

  or purpose of the enactment, its general purpose, the matter or thing forming the

  groundwork of the bill.”); La. Pub. Facilities Auth. v. Foster, 795 So. 2d 288, 299–301

  (La. 2021) (“What is ‘germane’ is that which is in close relationship, appropriate,

  relevant, or pertinent to the general subject.”)

  II.   SPECIAL SESSION

        Alternatively, the Governor could call a special session (also called an

  “extraordinary session”) in which new bills could be considered. See La. Const. Art.

  III, § 2(B). If the Governor were to call a special session, the Legislators must be given

  “[a]t least seven calendar days [notice] prior to convening the legislature in

  extraordinary session.” Id. And the bill must be read by title on three separate days

  in each house, and a committee of each chamber must hold public hearings and

  reports on the bill. Id. § 15(D) (“Each bill shall be read at least by title on three

  separate days in each house. No bill shall be considered for final passage unless a

  committee has held a public hearing and reported on the bill.”); see also S. Rule 10.6.

  However, the obligation of the reading of the bill is waivable if approved by a majority

  of the Senate and two-thirds of the House. See S. Rule 15.2; H. Rule 13.2. Thus, if

  done via special session, the State would need at least twelve days to pass a new map,

  unless the rules were waived by the appropriate margins in each house.
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  III.   CONSTITUTIONAL SESSION

         It is important to note that both options (special or regular session) could be

  limited by another proposal that is currently pending in the Legislature, which calls

  for a constitutional session (i.e., a session to amend the Louisiana Constitution). See

  H. Bill 800, 2024 Reg. Sess. (La. 2024). If that measure passes, the regular session

  would end on May 20, 2024, instead of June 3, 2024, and would foreclose the Governor

  from calling a special session for the duration of the constitutional session. See

  generally id.

                                     CONCLUSION

         There are only two plausible avenues for the Legislature to draw a new map.

  First, the Legislature could amend a bill that already has been introduced in the

  current regular session as long as the amendment is germane to that existing bill.

  Second, the Governor could call a special session in which new redistricting bills could

  be considered. But calling a special session is limited by the possibility of a different

  special session to amend the Louisiana Constitution—a possibility that is currently

  pending in the Legislature.


  Dated: May 6, 2024                             Respectfully Submitted,


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                              CERTIFICATE OF SERVICE

        I hereby declare that I served the foregoing document on counsel for all parties

  via email on May 6, 2024.


                                 /s/ Morgan Brungard
                                   Morgan Brungard




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